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                                                                 U.S. Department of Justice
                                                                 United States Marshals Sen 1ice
                                                                 75 Ted Turner Drive S. W Suite 1600
                                                                 Atlanta, GA 30303

THOMAS BROWN                                                     APRIL 11, 2023
U.S. Marshal                                                               r---;:-:FIL:-;:-ED;:;-:1:7'.NC::-:-:LE:-:R~K'S~O~FF~,c--E- -....
                                                                                                     U.S.D.C. -Atlanta


                                                                                                   APR 11 2023
Mr. Victor Hill
USMS# 41909-509
1:2021-CR-00143-ELR

Dear Mr. HILL

Pursuant to the sentence you received in federal court in the Northern District of Georgia,
you are hereby directed to report to the following to institution to begin service of your
federal sentence

                       INSTITUTION:           FCI FORREST CITY LOW
                                              1400 Dale Bumpers Road
                                              Forrest City, AR 72335

                       TELEPHONE NO.:         (870) 630-6000

                       REPORT DATE:           NOON: MAY 15, 2023

Any further inquiries should be directed to the institution at the telephone number listed
above.

                                              Respectfully,

                                              THOMAS BROWN
                                              United States Marshal


                                         'lt~~Criminal Section
